       Case 0:21-mj-06163-PMH Document 3 Entered on FLSD Docket 03/22/2021 Page 1 of 1
                                   COURT M INUTES/ORDER
                   U nited States M agistrate Judge Patrick M .Hunt
                                                                                 Date: 3/19/21 Time:11:00a.m.
Defendant:Richard L.Harris                    J#:               Case #: 21-6163-Hunt
AUSA: JodiAnton -Duty                                    Attorney:
Violation: Assaulting,Resisting,orlm pedingCertain Officers.(DISTRICT OFCOLUM BIA)
Proceeding:InitialAppearance                                       CJA Appt:
Bond/PTD Held:                          Recommended Bond:

ria Surrenderand/ordo notobtainpassports/traveldocs                        Language'
                                                                                   . English
  f:- Reportto PTSas directed/or         x'saweek/monthby                  Disposition:
      phone:       x'saweek/month in person                                Ajjpartiespresent    .

     Random urine testing by PretrialServices'
  f'                                                                       Deftconsentto proceed by zoom .
     Treatm ent as deem ed necessary
                                                                           Deftwaived hisrightto appearin open
  r' Refrain from excessive use ofalcohol
                                                                           court.
  r Participate in m entalhealth assessm ent& treatm ent
                                                                           Deftadvised ofhis rightsand charges.
r-r
  -l Maintainorseekfull-timeemployment/eàucation
  r Nocontactwithvictims/witnesses
                                                                           Deftsw orn forcounsel. FPD appointed
  r No firearm s
                                                                           -   DarylW ilcoxvia zoom .
  r Notto encum berproperty
 r'
  r') Maynotvisittransportationestablishments                              D
                                                                               eftorally w aived rem oval.
  U HomeConfinement/ElectronicMonitoringand/or
        Curfew 24 hours pm to             am ,paid by
  T%
        Allow ances:M edicalneeds,court appearances,attorney visits,
        religious,em ploym ent
 cr Travelextendedto: SDFL
 R ' Other:AppearatalIcourthearingandcommitnonew crimes.
NEXT COURT APPEARANCE     oate:               Tim e:            Judge:                           Place:

Report RE Counsel:
PTD/BondHearing: 3/26/21                       10:00a,m .        Duty                           FtI
Prelim/ArraignorRemoval:
Status Conference RE:
Ch              The moti on to continue to permit the defendant to hire counselis GM NTED.The time from today through th'
   eck if
A               rescheduleddatei sexcludedfrom thedeadlinefortrialascomputedundertheSpeedyTrialAct sincetheendsofjusti o
  pplicable: r served bygrantingthiscontinuanceoutweightheinterestsofthedefendantandthepublicinspeedytrial.
D.A.R. 12:52:33                                                            Tim e in Court: 15 m ins
                                                                                                    Page:
